                                                                                                    II

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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


                                                           )
QUYNH VU BAIN,                                             )
                                                           )
       Plaintiff,                                          )
                                                           )      No. 21-Civ-1751 (RDM)
               V.                                          )
                                                           )
OFFICE OF THE ATTORNEY GENERAL                             )
U.S. Department of Justice, et. al                         )
                                                           )
       Defendants.                                         )
_____________________)
            REPLY TO DEFENDANTS' OPPPOSITION TO PLAINTIFF'S
             MOTION TO FILE THIRD AMENDED COMPLAINT, AND
         REQUEST FOR RECORD INSPECTION UNDER FED. R. CIV. P. 34(a)


       By Minute Order dated August 3, 2023, this Honorable Court deemed Plaintiffs second

amended complaint, which was filed on that date, as a third amended complaint. Treating her

motion to late file the amended complaint as a Rule 15(a)(2) Motion to Amend, the Court gave

Defendants 14 days to respond. See Fed. R. Civ. P. 15(a)(2) (stating that leave to amend should

be freely granted "when justice so requires."). Rather than address the newly raised issues head­

on, Defendants attempt to sidestep them by moving, once again, to return this case to the Merit

Systems Protection Board (MSPB) for adjudication. Defendants' response is unavailing. The

Court has already spoken on the jurisdictional question. See Minute Orders, dated July 14 and

July 17, 2023. As the Court indisputably has subject matter jurisdiction, the Court should deem

the filing of the third amended complaint unopposed, order Defendants to respond, and permit

discovery to go forward.
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